                          IN THE UNITED STATES COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                          §
     Plaintiff,                                    §
                                                   §
       VS.                                         §           NO. 18-00293-CR-W-DGK
                                                   §
LEEANNA SCHROEDER                                  §
     Defendant.                                    §
                                                   §


                       SECOND MOTION FOR RECONSIDERATION
                                PRETRIAL RELEASE


       Defendant Leeanna Schroeder moves the Court to reconsider pretrial release and granting

bond on her personal recognizance, and in support states:


                                        LEGAL STANDARD


       1. Pursuant to Rule 46(c) and 18 U.S.C. 3143 the burden of establishing that the defendant

             will not flee or pose a danger to the community rests with the defendant.

       2. Pursuant to 18 U.S.C. 3142, 3143(2) the Court shall detain a defendant under the

             Controlled Substance Act which a maximum term of imprisonment includes ten years or

             more, unless, … the Court finds by “clear and convincing evidence that the person is not

             likely to flee or pose a danger to any other person or the community.”

             PROCEDURAL BACKGROUND & SUGGESTIONS IN SUPPORT

       3. Ms. Schroeder has been in the custody since December 18, 2018 whereby at the

             defendant’s initial appearance the Court denied pretrial release based on the pending

             matters out of St. Louis and Lincoln County. But Judge Counts instructed counsel to




18-00293-CR-W-DGK
SECOND MOTION FOR RECONSIDERATION PRETRIAL RELEASE– Page 1
       Case 4:18-cr-00293-DGK Document 410 Filed 01/13/21 Page 1 of 4
          file a motion to reconsider if that status changed. As government’s counsel noted in his

          suggestions of opposition (doc. 232), the court’s comment is not made apparent in the

          order; however, counsel is confident what was stated to her in open court.

     4. On April 4, 2019, St. Louis County Missouri case # 17SL-CR03422-01 against Ms.

          Schroeder was dismissed. And “she appeared as directed” according to her pretrial

          services report. (See doc. 35 and attached exhibit).

     5. On November 20, 2019, Lincoln County Missouri case # 18L6-CR00746 against Ms.

          Schroeder was dismissed. Essentially, the alleged criminal conduct in 18L6-CR00746 is

          the basis for the same alleged conduct in this case where she was held in custody and

          could not attend the state’s February 7, 2019 court date. (See attached exhibit).

     6. On November 22, 2019, the above defendant filed a motion for reconsideration of bond

          and the government filed suggestion in opposition. (Doc. 232).

     7.   On December 19, 2019, the court denied defendant Schroeder’s motion for bond

          reconsideration. (Doc. 235).

     8. Now this case has eleven additional co-defendants, four different foreperson signatures

          on four different indictments and on January 12, 2021, co-defendant Parton file a

          motion to continue the trial setting for next fall. (doc. 406). If granted it will this

          matter’s fifth trial continuance.

     9. Based on the amount of discovery, number of defendants, alleged criminal conduct, and

          case complexity, it is highly likely that this matter will take a substantial period of time

          before the actual trial is concluded.

     10. Ms. Schroeder is from the St. Louis area. Her stepfather resides in that area and is willing

          to provide her with a residential plan if she is granted pretrial release.

     11. Ms. Schroeder has small children that need her attention and care.


18-00293-CR-W-DGK
SECOND MOTION FOR RECONSIDERATION PRETRIAL RELEASE– Page 2
       Case 4:18-cr-00293-DGK Document 410 Filed 01/13/21 Page 2 of 4
       12. Ms. Schroeder has no pending cases except this matter.

       13. The government previously claimed “…defendant’s actions prior to her arrest and

           detention predictably indicate that her release pending trial would fail to “reasonably

           assure the appearance of the person as required and the safety of any other person and

           the community” as required by the second part of the reconsideration standard in

           section 3142(f)(2)(B),” is simply inaccurate. (See docs. 35, 232).

       14. Ms. Schroeder has not be given the same opportunity for pretrial release as other co-

           defendant’s who actually have prior criminal convictions.

       15. While in custody, Ms. Schroeder has successfully completed 53 courses offered at Core

           Civic.

       16. Criminal defendant’s who are incarcerated pretrial/pre-conviction do not get an

           opportunity to show a potential sentencing court their personal growth in a real-world

           setting.   Just like bad behavior can have an adverse effect at sentencing, the opposite

           holds true for stellar community behavior.

       17. Ms. Schroeder has been made aware of pretrial conditions and is confident she can

           comply with any conditions the court may order.

       18. Ms. Schroeder has no history of violence or danger to the community.

       19. Ms. Schroeder is without financial means to be considered a flight risk.

                                          CONCLUSION


        Ms. Schroeder has been detained since December 18, 2018. She was arrested on that date

without incident. Her two pending matters in the St. Louis area have been dismissed and no

warrants or pending matters exist. She has close family ties that will provide a residential plan and a

supportive living environment so she can gain employment and be with her young children. Finally,

she poses no threat to the community or absconding.

18-00293-CR-W-DGK
SECOND MOTION FOR RECONSIDERATION PRETRIAL RELEASE– Page 3
       Case 4:18-cr-00293-DGK Document 410 Filed 01/13/21 Page 3 of 4
       For the foregoing reasons, Ms. Schroeder moves the Court to reconsider pretrial release

based on her personal recognizance and further request a hearing if government counsel objects.


                                               Respectfully submitted,

                                               /S/ CYNTHIA M. DODGE

                                               Cynthia M. Dodge
                                               312 SW Greenwich Drive, #10
                                               Lee’s Summit, MO 64082
                                               MO#47754 KS#78371
                                               (816) 246-9200
                                               FAX (816) 246-9201
                                               cindy@cdodgelaw.com
                                               ATTORNEY FOR DEFENDANT



                             CERTIFICATE REGARDING SERVICE

I hereby certify that it is my belief and understanding that counsel for plaintiff, and counsel for the
co-defendants in this matter are participants in the Court’s CM/ECF program and that separate
service of the foregoing document is not required beyond the Notification of Electronic Filing to be
forwarded on January 13, 2021 upon the filing of the foregoing document.

/s/ Cynthia M. Dodge
_________________________
CYNTHIA M. DODGE




18-00293-CR-W-DGK
SECOND MOTION FOR RECONSIDERATION PRETRIAL RELEASE– Page 4
       Case 4:18-cr-00293-DGK Document 410 Filed 01/13/21 Page 4 of 4
